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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


      ELIZABETH SINES, SETH WISPELWEY,
      MARISSA BLAIR, APRIL MUÑIZ,
      MARCUS MARTIN, NATALIE ROMERO,
      CHELSEA ALVARADO, JOHN DOE, and
      THOMAS BAKER,

                                       Plantiffs,                Civil Action No. 3:17-cv-0072-NKM

      v.                                                             JURY TRIAL DEMANDED



      JASON KESSLER, et al.,

                                       Defendants.


            MOTION FOR PRO HAC VICE ADMISSION OF RENATO C. STABILE

           Pursuant to Rule 6(d) of the Local Rules for the United States District Court for the Western

   District of Virginia, I, Robert T. Cahill, an attorney admitted to practice in this Court, and counsel

   of record in the instant proceeding hereby move the Court for the admission of Renato C. Stabile,

   Esquire to appear pro hac vice on behalf of the Plaintiffs in the above captioned case and in support

   thereof state as follows:

           1.     Mr. Stabile is an attorney at Dubin Research & Consulting, 580 Broadway, Suite

   400, New York, NY 10012-5233; Phone (212) 219-1469; Email: rstabile@dubinconsulting.com.

           2.     Mr. Stabile is qualified and licensed to practice law and is a bar member in good

   standing in the state of New York (Bar ID No. 2867398 – Since 1998). He is also a member of

   the bar, in good standing, for the following federal courts: U.S. District Courts for the Southern

   District of New York and the Eastern District of New York, the U.S. Courts of Appeals for the

   Second Circuit, and the Supreme Court of the United States.
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          3.      Mr. Stabile agrees to submit and comply with the appropriate rules of procedure as

   required in the case for which he is applying to appear pro hac vice as well as the rules and

   standards of professional conduct applicable to all lawyers admitted to practice before this Court.

          WHEREFORE, for the reasons stated above, it is requested that this Court grant this motion

   and permit Renato C. Stabile, Esq. to appear pro hac vice on behalf of Plaintiffs in the above

   captioned case, and to appear at hearings or trials in the absence of an associated member of the

   bar of this Court.




    Dated: October 21, 2021                             Respectfully submitted,

                                                        /s/ Robert T. Cahill
                                                        Robert T. Cahill (VSB 38562)
                                                        COOLEY LLP
                                                        11951 Freedom Drive, 14th Floor
                                                        Reston, VA 20190-8000
                                                        Telephone: (703) 456-8000
                                                        Fax: (703) 456-8100
                                                        rcahill@cooley.com




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                                        CERTIFICATE OF SERVICE

           I hereby certify that on October 21, 2021, I filed the foregoing with the Clerk of Court through the CM/ECF
   system, which will send a notice of electronic filing to:

    Elmer Woodard                                              Bryan Jones
    5661 US Hwy 29                                             106 W. South St., Suite 211
    Blairs, VA 24527                                           Charlottesville, VA 22902
    isuecrooks@comcast.net                                     bryan@bjoneslegal.com

    James E. Kolenich                                          Counsel for Defendants Michael Hill, Michael Tubbs,
    Kolenich Law Office                                        and League of the South
    9435 Waterstone Blvd. #140
    Cincinnati, OH 45249                                       Joshua Smith Esq.
    jek318@gmail.com                                           Smith LLC
                                                               807 Crane Ave.
    Counsel for Defendants Jason Kessler, Nathan Damigo,       Pittsburgh, PA 15216
    Identity Europa, Inc. (Identity Evropa)                    joshsmith2020@gmail.com

    Justin Saunders Gravatt                                    Counsel for Matthew Heimbach, Matthew Parrott and
    David L. Hauck                                             Traditionalist Worker Party
    David L. Campbell
    Duane, Hauck, Davis & Gravatt, P.C.                        William Edward ReBrook, IV
    100 West Franklin Street, Suite 100                        The ReBrook Law Office
    Richmond, VA 23220                                         6013 Clerkenwell Court
    jgravatt@dhdglaw.com                                       Burke, VA 22015
    dhauck@dhdglaw.com                                         edward@rebrooklaw.com
    dcampbell@dhdglaw.com                                      rebrooklaw@gmail.com

    Counsel for Defendant James A. Fields, Jr.                 Counsel for Defendants Jeff Schoep, National Socialist
                                                               Movement, Nationalist Front

          I further hereby certify that on October 21, 2021, I also served the following non-ECF
   Defendants/participants, via electronic mail or First Class U.S. mail, as follows:

    Robert Ray                                                   Richard Spencer
    azzmador@gmail.com                                           richardbspencer@gmail.com
                                                                 richardbspencer@icloud.com
    Vanguard America
    c/o Dillon Hopper                                            Elliott Kline
    dillon_hopper@protonmail.com                                 eli.f mosley@gmail.com
                                                                 deplorabletruth@gmail.com
    VIA U.S. Mail                                                eli.r kline@gmail.com
    Christopher Cantwell 00991-509
    Central Virginia Regional Jail
    13021 James Madison Hwy
    Orange, VA 22960

                                                            /s/ David E. Mills
                                                            David E. Mills
                                                            Counsel for Plaintiffs




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